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                                                                       FILED: June 29, 2020


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                             No. 19-1999
                                        (7:16-cv-00007-MFU)
                                        ___________________

         MARK T. GRANT

                       Plaintiff - Appellant

         v.

         THE CITY OF ROANOKE, VIRGINIA

                       Defendant - Appellee

                                        ___________________

                                          JUDGMENT
                                        ___________________

               In accordance with the decision of this court, the judgment of the district

         court is affirmed.

               This judgment shall take effect upon issuance of this court's mandate in

         accordance with Fed. R. App. P. 41.

                                                /s/ PATRICIA S. CONNOR, CLERK
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                                                                             FILED: June 29, 2020


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                    No. 19-1999,          Mark Grant v. The City of Roanoke, Virginia
                                          7:16-cv-00007-MFU

                                         ________________________

                                        NOTICE OF JUDGMENT
                                         ________________________

         Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
         advised of the following time periods:

         PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for certiorari
         must be filed in the United States Supreme Court within 90 days of this court's entry of
         judgment. The time does not run from issuance of the mandate. If a petition for panel
         or en banc rehearing is timely filed, the time runs from denial of that petition. Review
         on writ of certiorari is not a matter of right, but of judicial discretion, and will be
         granted only for compelling reasons. (www.supremecourt.gov)

         VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED COUNSEL:
         Vouchers must be submitted within 60 days of entry of judgment or denial of
         rehearing, whichever is later. If counsel files a petition for certiorari, the 60-day period
         runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is being made from
         CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher through the CJA
         eVoucher system. In cases not covered by the Criminal Justice Act, counsel should
         submit the Assigned Counsel Voucher to the clerk's office for payment from the
         Attorney Admission Fund. An Assigned Counsel Voucher will be sent to counsel
         shortly after entry of judgment. Forms and instructions are also available on the court's
         web site, www.ca4.uscourts.gov, or from the clerk's office.

         BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
         costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
         39, Loc. R. 39(b)).
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         PETITION FOR REHEARING AND PETITION FOR REHEARING EN
         BANC: A petition for rehearing must be filed within 14 calendar days after entry of
         judgment, except that in civil cases in which the United States or its officer or agency
         is a party, the petition must be filed within 45 days after entry of judgment. A petition
         for rehearing en banc must be filed within the same time limits and in the same
         document as the petition for rehearing and must be clearly identified in the title. The
         only grounds for an extension of time to file a petition for rehearing are the death or
         serious illness of counsel or a family member (or of a party or family member in pro se
         cases) or an extraordinary circumstance wholly beyond the control of counsel or a
         party proceeding without counsel.

         Each case number to which the petition applies must be listed on the petition and
         included in the docket entry to identify the cases to which the petition applies. A
         timely filed petition for rehearing or petition for rehearing en banc stays the mandate
         and tolls the running of time for filing a petition for writ of certiorari. In consolidated
         criminal appeals, the filing of a petition for rehearing does not stay the mandate as to
         co-defendants not joining in the petition for rehearing. In consolidated civil appeals
         arising from the same civil action, the court's mandate will issue at the same time in all
         appeals.

         A petition for rehearing must contain an introduction stating that, in counsel's
         judgment, one or more of the following situations exist: (1) a material factual or legal
         matter was overlooked; (2) a change in the law occurred after submission of the case
         and was overlooked; (3) the opinion conflicts with a decision of the U.S. Supreme
         Court, this court, or another court of appeals, and the conflict was not addressed; or (4)
         the case involves one or more questions of exceptional importance. A petition for
         rehearing, with or without a petition for rehearing en banc, may not exceed 3900 words
         if prepared by computer and may not exceed 15 pages if handwritten or prepared on a
         typewriter. Copies are not required unless requested by the court. (FRAP 35 & 40,
         Loc. R. 40(c)).

         MANDATE: In original proceedings before this court, there is no mandate. Unless the
         court shortens or extends the time, in all other cases, the mandate issues 7 days after
         the expiration of the time for filing a petition for rehearing. A timely petition for
         rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
         issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
         days later. A motion to stay the mandate will ordinarily be denied, unless the motion
         presents a substantial question or otherwise sets forth good or probable cause for a
         stay. (FRAP 41, Loc. R. 41).
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                    U.S. COURT OF APPEAL FOR THE FOURTH CIRCUIT BILL OF COSTS FORM
                                               (Civil Cases)

         Directions: Under FRAP 39(a), the costs of appeal in a civil action are generally taxed against appellant if a
         judgment is affirmed or the appeal is dismissed. Costs are generally taxed against appellee if a judgment is
         reversed. If a judgment is affirmed in part, reversed in part, modified, or vacated, costs are taxed as the court
         orders. A party who wants costs taxed must, within 14 days after entry of judgment, file an itemized and
         verified bill of costs, as follows:
         • Itemize any fee paid for docketing the appeal. The fee for docketing a case in the court of appeals is $500
         (effective 12/1/2013). The $5 fee for filing a notice of appeal is recoverable as a cost in the district court.
         • Itemize the costs (not to exceed $.15 per page) for copying the necessary number of formal briefs and
         appendices. (Effective 10/1/2015, the court requires 1 copy when filed; 3 more copies when tentatively
         calendared; 0 copies for service unless brief/appendix is sealed.). The court bases the cost award on the page
         count of the electronic brief/appendix. Costs for briefs filed under an informal briefing order are not
         recoverable.
         • Cite the statutory authority for an award of costs if costs are sought for or against the United States. See 28
         U.S.C. § 2412 (limiting costs to civil actions); 28 U.S.C. § 1915(f)(1) (prohibiting award of costs against the
         United States in cases proceeding without prepayment of fees).
         Any objections to the bill of costs must be filed within 14 days of service of the bill of costs. Costs are paid
         directly to the prevailing party or counsel, not to the clerk's office.

         Case Number & Caption: _____________________________________________________

         Prevailing Party Requesting Taxation of Costs: ____________________________________

         Appellate Docketing Fee (prevailing
         appellants):
                                                          Amount Requested: ______                  Amount Allowed: _____
                                                                                           Page
           Document               No. of Pages                  No. of Copies              Cost                Total Cost
                                                                                          (<$.15)
                                       Allowed Requested Allowed
                            Requested (court                                                        Requested           Allowed
                                             use only)   (court use only)                                              (court use only)




         TOTAL BILL OF COSTS:                                                                              $0.00                  $0.00

         1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
         standard billing amount is not less than $.15 per copy or, if less, I have reduced the amount charged to the lesser rate.
         2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 permits an award of costs.
         3. I declare under penalty of perjury that these costs are true and correct and were necessarily incurred in this action.

         Signature: __________________________________                        Date: _____________________________

                                                           Certificate of Service

         I certify that on this date I served this document as follows:

         Signature: _______________________________                       Date: _________________________________
